        Case 4:10-cr-00192-DPM Document 82 Filed 06/04/13 Page 1 of 1




              IN THE UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF ARKANSAS
                      WESTERN DIVISION


UNITED STATES OF AMERICA                                             PLAINTIFF

v                        No. 4:10-cr-192-DPM-2

TOMMY JORDAN                                                      DEFENDANT



                       ORDER OF REASSIGNMENT

The above-referenced case, which was placed on the unassigned docket on 22

August 2012, has been returned to the docket of United States District Judge

D. P. Marshall Jr.

Dated this 4th day of June, 2013.


                               AT THE DIRECTION OF THE COURT
                               JAMES W. McCORMACK, CLERK


                               By: /s/ Martha Fugate
                               Deputy Clerk


cc: Hon. D.P. Marshall Jr.
All Parties
